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     John Neil Stephenson (SBN 12497)
 1
     STEPHENSON LAW, PLLC
 2   1770 Verdi Vista Court
     Reno, Nevada 89523
 3   T: 510-502-2347
     E: johnstephensonlaw@gmail.com
 4
     W: stephensonfirm.com
 5   Counsel for Defendant Hacienda Rooming House, Inc.
     dba Bella’s Hacienda Ranch
 6
 7                              UNITED STATES DISTRICT COURT

 8                                DISTRICT OF NEVADA (RENO)
 9         JANE DOE;                                  Case No. 3:24-cv-00065-MMD-CSD
10
                             Plaintiff,               DEFENDANT HACIENDA ROOMING
11                                                    HOUSE, INC. D/B/A BELLA'S
           v.                                         HACIENDA RANCH’S REPLY IN
12                                                    SUPPORT OF HER MOTION FOR
13         JOSEPH LOMBARDO, Governor of               SANCTIONS [#174]
           Nevada, in his official capacity; AARON
14         FORD, Attorney General of Nevada, in his
           official capacity; NYE COUNTY; ELKO
15         COUNTY; STOREY COUNTY; WESTERN
16         BEST, INC. D/B/A CHICKEN RANCH;
           WESTERN BEST, LLC; DESERT ROSE
17         CLUB, LLC; HACIENDA ROOMING
           HOUSE, INC. D/B/A BELLA'S HACIENDA
18
           RANCH; MUSTANG RANCH
19         PRODUCTIONS, LLC d/b/a MUSTANG
           RANCH LOUNGE, LLC; LEONARD
20         "LANCE" GILMAN, in his
           official capacity; and LEONARD "LANCE"
21
           GILMAN, in his individual capacity,
22
                             Defendants.
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                        MEMORANDUM OF POINTS AND AUTHORITIES
 1
 2          Defendant Hacienda Rooming House, Inc. d/b/a Bella’s Hacienda Ranch (“Bellas”) moved

 3   for sanctions [#174], Plaintiff Jane Doe responded [#177], and Bellas hereby replies on the
 4
     grounds, fully reincorporated by reference herein, set forth in the Reply filed by co-Defendants
 5
     Mustang Ranch Productions, LLC and Lance Gilman [#178]. She would like to reemphasize four
 6
 7   main points presented therein:

 8              1. Brothel Defendants have no way of knowing whether Jane Doe even exists or not.
                   She could be entirely fictional.
 9
10              2. Jane Doe’s counsel has used this case to raise millions of dollars to fund a campaign
                   to illegalize prostitution, not via the constitutionally legitimate method of lobbying
11                 for new legislation, but by filing frivolous claims with the aim of making it
                   exceedingly difficult to conduct legitimate business (“lawfare”). This is especially
12                 true for Bellas, a small business in rural Northern Eastern, Nevada with a very
13                 limited litigation budget.

14              3. This lawsuit filed by Jane Doe’s lawyers is a pattern of reckless and frivolous
                   lawsuits made in 2019, 2021, and 2024 that assert a clearly incognizable cause of
15                 action for violating the 13th Amendment on the illegitimate grounds that they are
16                 “ending slavery in Nevada.” The courtesans that work for Bellas are cared for and
                   treated very well. These baseless allegations are not well taken.
17
                4. Jane Doe’s lawyers have used this illegitimate tactic for launching their media and
18
                   fundraising campaigns. In other words, they are benefitting from doing wrong.
19
            Sanctions are therefore warranted.
20
            DATED: May 22, 2025                   STEPHENSON LAW, PLLC
21
22                                                 /s/ John Neil Stephenson
                                                   By: John Neil Stephenson
23                                                 Its: Managing Member
24                                                 Counsel for Defendant Hacienda Rooming
                                                   House, Inc. dba Bella’s Hacienda Ranch
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                                     CERTIFICATE OF SERVICE
 1
 2          I hereby certify that I electronically filed the foregoing, DEFENDANT HACIENDA

 3   ROOMING HOUSE, INC. D/B/A BELLA'S HACIENDA RANCH’S REPLY IN SUPPORT OF
 4
     HER MOTION FOR SANCTIONS [#174] by using the CM/ECF system on the date indicated
 5
     below. To the best of my knowledge and belief, I certify that participants in the case are
 6
 7   registered electronic filing system users and will be served via this Court’s CM/ECF system.

 8   DATED: May 22, 2025                          STEPHENSON LAW, PLLC
 9                                                 /s/ John Neil Stephenson
10                                                 By: John Neil Stephenson
                                                   Its: Managing Member
11                                                 Counsel for Defendant Hacienda Rooming
                                                   House, Inc. dba Bella’s Hacienda Ranch
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